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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION
KENNETH SANDERS,                   )
                                   )
      Movant,                      )
                                   )
v.                                 )     Case No. CV409-197
                                   )                 CR495- 123
UNITED STATES OF AMERICA,          )
                                   )
      Respondent.                  )

                 REPORT AND RECOMMENDATION

      Kenneth Ramon Sanders was convicted in this Court for vio/ating

21 U.S.C. § 846 (Conspiracy to Distribute Cocaine Base and Cocaine

Hydroch/oride), then sentenced to 340 months' imprisonment. United

States v. Sanders, No. CR494-123, doc. 686. Years /ater, he partia//y

prevai/ed in moving the Court to reduce his sentence under 18 U.S.C. §

3582(c)(2). United States v. Sanders, 315 F. App'x 815, 817 (11th Cir.

2009). Whi/e that appea/ was pending, he a/so moved this Court for 28

U.S.C. § 2255 re/ief, contending that he had successfu//y moved to vacate

state court convictions that had figured into his 340-month sentence

here, thus warranting further re-sentencing. Doc. 1054.
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       That motion fo//owed a string of ear/ier, unsuccessfu/ § 2255

motions (though he most/y ca//ed them something e/se). Docs. 897, 900,

918, 920, 1005, 1009, 1013, 1014. As the Court exp/ained in Sanders's

/ast (disguised) § 2255 undertaking, he must app/y direct/y to the

E/eventh Circuit for all future § 2255 motions. Doc. 1058 at 2 n. 1; see

also 28 U.S.C. §2244(b)(3)(A); see 28 U.S.C. §2255(h) (cross-referencing

§2244's certification requirements). The government agrees. Doc. 1070

at 2-3. ^ Sanders neverthe/ess has fi/ed yet another § 2255 motion here --


1
  For that matter, a re-sentencing under § 3582 does not re-set the "§2255 cyc/e"
back to zero, thus enab/ing Sanders to fi/e a "first" § 2255 motion here:

    Whi/e a § 2255 motion is not second or successive where the defendant seeks to
    vacate an amended sentence on grounds opened by resentencing, see In re
    Taylor, 171 F.3d 185, 186 (4th Cir. 1999), proceedings under § 3582(c)(2) "do
    not constitute a fu// resentencing of the defendant" and do not affect the
    fina/ity of a crimina/ judgment. U.S.S.G. § 1B1.10(a)(3); see United States v.
    Legree, 205 F.3d 724, 730 (4th Cir. 2000) ("A motion pursuant to § 3582(c)(2)
    is not a do-over of an origina/ sentencing where a defendant is c/oaked in
    rights mandated by statutory /aw and the Constitution." (citation omitted));
    see also United States v. McBride, 283 F.3d 612, 615 (3d Cir. 2002) (ho/ding
    that § 3582(c)(2) authorizes "a reduction of sentence" and not a "fu//
    resentencing"); United States v. Bravo, 203 F.3d 778, 781 (11th Cir. 2000)
    (ho/ding that § 3582(c)(2) "do[es] not contemp/ate a fu// de novo resentencing"
    (quotation and citation omitted)); United States v. Sanders, 247 F.3d 139, 143
    (4th Cir. 2001) (The p/ain /anguage of 18 U.S.C. § 3582(b) estab/ishes that a
    modification of a sentence under § 3582(c) does not affect the fina/ity of a
    crimina/ judgment.).

United States v. Porter, 2010 WL 348019 at * 1 (W.D. Va. Jan. 29, 2010); accord
United States v. Valentine, 2010 WL 92322 at * 1 (D. Neb. Jan. 6, 2010); United
States v. Griffin, 2009 WL 2763859 at * 2 (N.D. F/a. Aug. 27, 2009) ("There is no
statutory exception for successive § 2255 motions fi/ed after such a resentencing.").
                                           2
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on the "vacatur" grounds. 409CV197 doc. 1. Under 28 U.S.C. § 2255

Ru/e 4, it must be DENIED as successive.

     SO REPORTED AND RECOMMENDED this 10th day of

March, 2010.



                              1JNTED SIAThS MAGISTRATE JUDGE
                              SOUTTEERN DISTRICT of GEORGIA




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